Case 2:04-cr-O0506-BMS Document 218 Filed 06/20/07 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

V.

KEVIN JENKINS

 

cane "pep. O8
MOTION FOR A JUDGMENT @&-ACQUITTAL PURSUANT TO RULE 29 OF THE
FEDERAL RULES OF CRIMINAL PROCEDURE

Kevin Jenkins, by and through his counsel Peter Levin, Esquire, respectfully
requests this Court to enter a Judgment of Acquittal, and in support therefore avers the
following:

1. On June 13, 2007, the Defendant was convicted of Count 1 and 3 in the above
captioned matter.

2. Defendant asserts that the evidence was insufficient to convict him of conspiracy to
commit armed bank robbery and using and possessing a firearm in furtherance of a
conspiracy to commit armed bank robbery

3. Counsel has ordered the transcripts from the trial and requests permission to file a
memorandum of law after the transcripts have been reviewed.

WHEREFORE, Defendant respectfully requests this Honorable Court to grant a
Judgment of Acquittal and that he be permitted to file a Memorandum of Law when the
notes of testimony have been provided to counsel.

Respectfully submitted,
2865 a

 

Peter A. Levin, Esquire
1927 Hamilton Street
Philadelphia, PA 19130
(215) 563-3454
Case 2:04-cr-0O0506-BMS Document 218 Filed 06/20/07 Page 2 of 3

CERTIFICATE OF SERVICE

Peter A. Levin, Esquire, hereby certifies that a true and correct copy of the

within Motion has been served upon by First Class Mail to:

Dated: 6/20/07

Jennifer Chun, Esquire - i i. = D

Assistant United States Attorney

615 Chestnut Street JUN 20 2007
Suite 1250 ae Clerk
Philadelphia, PA 19106 MIGHAEL = suelZ, CE
By____—D#-
2865 eg

PETER A. LEVIN, ESQUIRE
Case 2:04-cr-0O0506-BMS Document 218 Filed 06/20/07 Page 3 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

 

V. CRIMINAL NO. 04-506-2
KEVIN JENKINS
ORDER
AND NOW, to wit, this day of , 2007, itis hereby ORDERED

and DECREED that Defendant's Motion for a JUDGMENT OF ACQUITTAL pursuant to
Rule 29 of the Federal Rules of Criminal Procedure is GRANTED.

BY THE COURT:

 
